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Alexander Burke

From:                Alexander Burke
Sent:                Monday, October 29, 2018 10:13 AM
To:                  Olson, Charity A
Cc:                  Larry Smith; Dan Marovitch
Subject:             RE: Saunders - Policy Documentation
Attachments:         Oct 17 email to Charity.pdf


Charity, 
  
This commemorates the telephone discussion you and I had October 22, 2018. Previously, you committed to producing 
all responsive materials and objections by October 22. That commitment is confirmed in my email of October 17, 
attached.  
  
You called me at the end of the day on October 22, to explain that you needed a few more days to produce the 
materials, because a trial ran long. I agreed to receive the materials by October 24. The agreement we reached is that 
Plaintiff would withdraw our position that DONI’s objections to our requests were waived, if DONI (1) produced all of its 
non‐data documents and responses by October 24, and (2) DONI agreed to produce the account notes and other 
account/consent‐related data for all persons who were successfully direct‐dropped through VoApps, within three 
weeks, by November 12.  
  
On October 24, DONI produced no written responses, and nine pages of documents. You stated that some materials 
might have been produced to your old office, but we have heard nothing about this since then.  
  
DONI has not lived up to its side of the bargain. We intend to file a motion to compel.   
  
Alex 
  
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From: Olson, Charity A <caolson@varnumlaw.com>  
Sent: Wednesday, October 24, 2018 10:09 PM 
To: Alexander Burke <aburke@burkelawllc.com> 
Subject: Saunders ‐ Policy Documentation 
  
Hi Alex: 
  
Per our discussion on Monday, I’ve attached some of the policy documentation from DONI.    
  
I think additional documents may have been sent to Brock & Scott (“B&S”). I say that because: (a) someone at B&S 
forwarded an email to me which contained one of the attached documents; and (b) I requested and expected to receive 
documentation bearing on consent more specifically. I received LiveVox documentation, too, but those policies are not 
germane to this matter from my perspective and have been not been included in the attached production.  

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I’m done with my jury trial so I will follow up again first thing tomorrow morning.    
  
Charity A. Olson 
Varnum LLP 
300 N. 5th Ave., Suite 230 
Ann Arbor, MI 48104 
Direct: 734‐372‐2914 
  




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